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Via UPS Defivery
Capt. David Roesler, Cornrnander
District 6, Michigan State Po|ice
345 Northalnd Drive NE
Rocl<ford, Ml 4934|

Dear Capt. Roes!er:
Re: Eag!e Towfng -» No Preference Lfst

i represent john and Andrew Heykoop and Eag|e Towing of i"‘lontague, l"'iichigan. This letter
concerns two matters involving the relationship of posts within your district and my client

On November l3. 20 l 7, my client received a letter from Lt. jeffrey White of the Hart Post advising
that Eagie Towing was being removed from the No Preference Wrecl-<er |ist. This letter also
precipitated Eagie Towing‘s removal from the same list at the Roci<ford Post. A copy of the letter
is enclosed for your convenience The letter came without warning and without any detailed
explanation other than “due to the quality and type of service" provided by my ciient. We have
information that this action was precipitated by the Oceana Sheriff’s Department and was
substantially motivated in retaliation for my client’s reporting of what he regarding as i|iegai or
unethical conduct by that office.

As you are aware. no-preference wrecker services working with the State Po|ice are subject to
Official Order 48.3.5 and 48.3.6. in February of this year, my client made several attempts to
request the forms necessary to be placed on the No Preference List from your office and the Hart
Post. A certified fetter to your attention was refused and returned Later, my client was abie to
obtain an application and submitted it to both your post and the Hart Post, on or about March 28,
20 l 8. l have attached the documents sent by my client for your convenience To date no response
has been received by ciient, and Eagie Towing remains off the No Preference l_ist. it is our
understanding that there are wrecker services who remain on the list even though they do not
comply with Officiai Order 48.

The second matter concerns a statement made by Lt. jeffery White, which l have confirmed through
a reliabie source other than rny client, apparently made a 9 f l dispatch committee meeting [or other
meeting] that he wii| refuse to permit my client to render wrecker services at the E|ectric Forest
Music Festival in june of this year. This festival takes place on private property, the Doubie jj Ranch
& Go|f Resort, and my client has an exciusive contract with the producers of this event to provide

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wrecking services during the festivai. | have enclosed that contract for your convenience This
threatened action is not only unwarranted, but is an unlawful interference with my client’s contract
rights

l"iy client has complied with Officia| Order 48 and all applicable iaw regarding the services they
provide. The actions taken by commanding officers within your district against my client are
unlawfui, a wiiiful vioiation of their ciin rights, due process of law, and a tortious interference with
their contractuai relationships

The ongoing fend being waged within your District against my client is a detriment to the
community Eag|e Towing is more than wiiling to meet to discuss any and ai| concerns that may iie
behind this problem, but we insist that this retaliatory conduct end. Whiie we are authorized to
commence legai action if necessary, it certainly seems in the best interest of ail concerned that
discussions be heid in the hope of resolving this dispute ln that spirit, l am asking that you give me
a cai| to discuss this at your earliest convenience

Sincere|yw

 

i ,
]OHN S. BRENNAN
MEMBER

]SB/arm
Enc|osure

Cc: Co|. Kriste Kibbey Etue, Director of the Michigan State Po|ice
Steven Beatty, Departrnenta| Manager/|n»House Counse|

 

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